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7                    IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CASE NO. 2:10-MJ-327 GGH
                                   )
11                  Plaintiff,     )
                                   )          STIPULATION AND ORDER TO
12        v.                       )          EXTEND TIME FOR PRELIMINARY
                                   )          EXAMINATION AND EXCLUDE TIME
13                                 )
     CHRISTOPHER JACKSON,          )
14                                 )
                    Defendant.     )
15   ______________________________)
16        The parties agree that time beginning December 6, 2010 and
17   extending through January 18, 2011 should be excluded from the
18   calculation of time under the Speedy Trial Act.        Further, the
19   Defendant consents to an extension of the time for preliminary
20   examination until January 18, 2011.      Fed. R. Crim. P. 5.1(d).
21   The parties submit that the ends of justice are served by the
22   Court excluding such time, so that they may have reasonable time
23   necessary for effective preparation, taking into account the
24   exercise of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv).       In
25   particular, the time is required so that the government and
26   Defendant may exchange information, including pre-indictment
27   discovery, and analyze its importance to the case.         The parties
28   submit that this interest of justice outweighs the interest of

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1    the public and the Defendant in a speedy filing of an indictment
2    or information, in accordance with Title 18, United States Code,
3    § 3161(b) and (h)(8)(A), and further that this good cause
4    outweighs the public’s interest in the prompt disposition of
5    criminal cases, in accordance with Fed. R. Crim. P. 5.1(d).
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8                                            Respectfully Submitted,
9                                            BENJAMIN B. WAGNER
                                             United States Attorney
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11
     DATE: November 23, 2010          By:     /s/ Matt Segal
12                                           MATTHEW D. SEGAL
                                             Assistant U.S. Attorney
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14
     DATE: November 23, 2010                  /s/ Caro Marks by MDS
15                                           CARO MARKS
                                             Counsel for C. Jackson
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18   SO ORDERED.
19   Dated:   November 29, 2010.
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